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                       EXHIBIT 26
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             Important Information About the Attached Full and Final Release,
                           Settlement, and Covenant Not to Sue

All claimants have the right to consult with an attorney of their own choosing prior to
accepting any settlement payment or signing a release of legal rights. If you are represented by
an attorney in connection with your claim, confer with your attorney before signing this
document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”)
is a binding legal document. By signing this document, you are forever waiving and releasing all
claims that you may have against BP or any other party in connection with the Deepwater
Horizon Incident (as defined in the Individual Release) except for Expressly Reserved Claims (as
defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any
rights that you may have for any costs, damages, causes of actions, claims, or other relief
related to or arising from the Deepwater Horizon Incident except for Expressly Reserved Claims
even if you are not currently aware of such costs or damages and even if such costs or
damages arise in the future (i.e., additional oil impacts) or do not manifest themselves until
the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the
terms of the Individual Release, and that you execute the Individual Release voluntarily and without
being pressured or influenced by, and without relying upon, any statement or representation made by
any person acting on behalf of BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District
Court in New Orleans presiding over the multidistrict litigation titled In re Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179). A class action
settlement has been proposed in that case, but the Court has not yet given final approval of that
proposed settlement. If the Court does approve the proposed class action settlement, an appellate
court could reverse the approval. In addition, it is possible that the terms of the proposed
settlement may change in the future—for better or for worse—as a result of further legal
proceedings. However, if you sign this Individual Release, none of those uncertain future events
will affect you. By signing this Individual Release you are forever waiving and releasing all
claims that you may have against BP (except for Expressly Reserved Claims) in exchange
for the compensation being provided. In fact, even if the Court does not approve the proposed
class action settlement agreement or the approval is reversed by an appellate court, you shall
continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you
are married, or if the business is jointly owned by you and your spouse, both you and your spouse
must sign the Individual Release. For an Individual Claimant, if you are married, both you and your
spouse must sign the Individual Release. You and your spouse should not sign the Individual
Release unless you both intend to release and give up all of your claims.




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By signing below, you acknowledge that you have read and understand the information above. You
elect to accept the payment as a final settlement of all claims against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims. You consent to the use
and disclosure by the Claims Administrator and those assisting the Claims Administrator of any
information that the Claims Administrator believes necessary and/or helpful to process your claim
for compensation and payment and to any legitimate business purposes associated with administering
the settlement facility. Finally, you consent to the Claims Administrator providing documentation and
information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

                                     ACKNOWLEDGMENT

I/We acknowledge that I/we have read and understand the information above. I/We consent to
the claimant’s election to accept the payment as a final settlement of all claims of claimant against
any party in connection with the Deepwater Horizon Incident except for Expressly Reserved Claims.



Signature of Claimant                                                        Date



Signature of Claimant’s Spouse                                               Date




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        FULL AND FINAL RELEASE, SETTLEMENT, AND COVENANT NOT TO SUE

        1.       Definitions: For purposes of this Individual Release, the following definitions shall
apply, and in the case of defined nouns, the singular shall include the plural and vice versa:

                 (a)     “Affiliate” means with respect to any Natural Person or Entity, any other
Natural Person or Entity that directly or indirectly, through one or more intermediaries, controls, or is
controlled by, or is under common control with, such Natural Person or Entity.

                (b)      “Assigned Claims” means the claims defined in Exhibit 21 to the Settlement
Agreement.

                 (c)     “Bodily Injury Claims” means claims and damages, including lost wages, for or
resulting from personal injury, latent injury, future injury, progression of existing injury, damage, disease,
death, fear of disease or injury or death, mental or physical pain or suffering, or emotional or mental
harm, anguish or loss of enjoyment of life, including any claim for mental health injury, arising out of,
due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident.

                  (d)     “BP” means BP Exploration & Production Inc., BP America Production
Company, BP America Inc., BP Company North America Inc., BP Corporation North America Inc., BP
Corporation North America Inc. Savings Plan Investment Oversight Committee, BP Energy Company,
BP Exploration (Alaska) Inc., BP Global Special Products (America) Inc., BP Holdings North America
Limited, BP p.l.c., BP Products North America Inc., and each of their respective direct or indirect parents,
subsidiaries and subsidiary undertakings (as those terms are defined in the U.K. Companies Act 2006),
Affiliates, divisions, and business units.

              (e)    “Claim” means any demand or request for compensation (other than Bodily
Injury Claims or Expressly Reserved Claims), together with any properly completed forms and
accompanying required documentation, submitted by a Claimant to the Settlement Program.

              (f)    “Claimant” means any Natural Person or Entity that submits a Claim to the
Settlement Program seeking compensation as a member of the Economic Class.

                (g)      “Coastal Real Property” means property in the Coastal Real Property Claim
Zone.

              (h)     “Coastal Real Property Claim Framework” means that process described in
the document captioned Coastal Real Property Claim Frameworks, attached as Exhibit 11A to the
Settlement Agreement.

               (i)    “Coastal Real Property Claim Zone” means the areas identified on the Coastal
Real Property Compensation Zone Map included with the Coastal Real Property Claim Framework.

               (j)      “Coastal Real Property Damage” means a loss to Real Property claimed to
have been suffered by a Coastal Real Property owner or lessee in the Coastal Real Property Claim
Zone allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
Deepwater Horizon Incident that is separate from Seafood Compensation Program, Economic
Damage, Real Property Sales Damage, Wetlands Real Property Damage, VoO Charter Payment,
Vessel Physical Damage and Subsistence Damage, and is more fully described in Exhibit 11A to the
Settlement Agreement.




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                  (k)     “Compensatory Damages” means any and all forms of damages, nown or
un nown, intended to or having the effect of satisfying, compensating, or reimbursing Claimant’s claims
for actual economic or pecuniary costs, expenses, damages, lia ility, or other losses or injuries arising out
of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, regardless of what such damages are designated, called or labeled. Compensatory Damages
do not include and may not e interpreted to have any overlap with punitive, exemplary, multiple, or non-
compensatory damages. Bodily Injury Claims (including wrongful death) are not included in
Compensatory Damages. Claims of BP shareholders in any derivative or direct action solely in their
capacity as BP shareholders are not included in Compensatory Damages BP and Claimant
acknowledge and agree that the term Compensatory Damages as defined and used herein does not limit
the amounts to be used for the calculation of punitive or other non-compensatory damages in any current
or future litigation pursued by Claimant. Nothing herein shall be deemed to limit Claimant’s rights to
pursue Moratoria Losses or other claims expressly reserved against BP under Section 3 of the Settlement
Agreement.

                (l)      “Damages” means all forms of damages defined as broadly as possible without
exception, including losses, costs, expenses, taxes, requests, royalties, rents, fees, profits, profit shares,
earning capacity, loss of subsistence, damages to real or personal property, diminution in property value,
punitive damages, exemplary damages, multiple damages, non-compensatory damages, Compensatory
Damages, economic damages, injuries, liens, remedies, debts, claims, causes of action, or liabilities.

              (m)      “Deepwater Horizon Economic Litigation” means all Claims brought by
Claimant or any Economic Class Member for damage covered by the Seafood Compensation
Program, Coastal Real Property Damage, Economic Damage, Real Property Sales Damage,
Subsistence Damage, VoO Charter Payment, Vessel Physical Damage or Wetlands Real Property
Damage allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly,
the Deepwater Horizon Incident, in the MDL Action.

                 (n)      “Deepwater Horizon Incident” means the events, actions, inactions and
omissions leading up to and including (i) the blowout of the MC252 Well, (ii) the explosions and fire on
board the Deepwater Horizon on or about April 20, 2010, (iii) the sinking of the Deepwater Horizon on
or about April 22, 2010, (iv) the release of oil, other hydrocarbons and other substances from the MC252
Well and/or the Deepwater Horizon and its appurtenances, (v) the efforts to contain the MC252 Well, (vi)
Response Activities, including the VoO Program; (vii) the operation of the GCCF; and (viii) BP public
statements relating to all of the foregoing.

               (o)     “DHOST” means the Deepwater Horizon Oil Spill Trust, which is the
irrevocable common law trust established under Delaware law in accordance with the trust agreement
titled “Deepwater Horizon Oil Spill Trust” dated August 6, 2010, and entered into among BP Exploration
& Production Inc.; John S. Martin, Jr. and Kent D. Syverud, as individual trustees; and Citigroup Trust-
Delaware, N.A., as corporate trustee.

                (p)      “Economic Class” means the Economic and Property Damages Settlement
Class.

                (q)      “Economic Damage” means loss of profits, income, and/or earnings arising in
the Gulf Coast Areas or Specified Gulf Waters allegedly arising out of, due to, resulting from, or
relating in any way to, directly or indirectly, the Deepwater Horizon Incident; provided, however, that
Economic Damage does not include (1) loss of profits or earnings, or damages for injury relating to Real
Property or personal property that constitutes any part of the Seafood Compensation Program, Coastal
Real Property Damage, Real Property Sales Damage, Wetlands Real Property Damage, Vessel


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Physical Damage, or (2) VoO Charter Payment, or (3) damages for loss of Subsistence use of natural
resources, which constitutes Subsistence Damage.

                 (r)     “Entity” means an organization or entity, other than a Governmental
Organization, operating or having operated for profit or not-for-profit, including a partnership, a
corporation, a limited liability company, an association, a joint stock company, a trust, a joint venture or
an unincorporated association of any kind or description.

                 (s)     “Expressly Reserved Claims” means the following Claims that are not
recognized or released under this Individual Release, and are reserved to Claimant: (1) Bodily Injury
Claims; (2) claims of BP shareholders in any derivative or direct action solely in their capacity as BP
shareholders; (3) claims of Natural Persons and Entities for Moratoria Losses; (4) claims relating to
menhaden (or “pogy”) fishing, processing, selling, catching, or harvesting; and (5) claims for Economic
Damage suffered by Entities or employees (to the extent they allege Economic Damage based on their
employment by such an Entity during the Class Period) in the Banking, Gaming, Financial, Insurance,
Oil and Gas, Real Estate Development, and Defense Contractor Industries, and entities selling or
marketing BP-branded fuel, including jobbers and branded retailers, as defined in the Settlement
Agreement; and (6) claims for punitive or exemplary damages against Halliburton and Transocean
subject to the provisions of Section 11 of the Settlement Agreement; and (7) the rights of the Claimant
to recover additional benefits from the Economic Class secured by virtue of the efforts of the Economic
Class to pursue Assigned Claims, again subject to the provisions of Section 11 of the Settlement
Agreement.

                (t)     “Finfish” means fish other than shellfish and octopuses.

                (u)     “Game” includes nutria, min , otters, raccoons, mus rats, alligators, and other
wildlife.

                (v)     “GCCF” means the Gulf Coast Claims Facility.

                (w)      “Governmental Organization” means: (a) the government of the United States
of America, (b) any state or local government, (c) any agency, branch, commission, department, or unit of
the government of the United States of America or of any state or local government, or (d) any Affiliate
of, or any business or organization of any type that is owned in whole or in part to the extent of at least
51% by the government of the United States of America or any state or local government, or any of their
agencies, branches, commissions, departments, or units.

                 (x)    “Gulf Coast Areas” means the States of Louisiana, Mississippi, and Alabama;
the counties of Chambers, Galveston, Jefferson and Orange in the State of Texas; and the counties of Bay,
Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia, Franklin, Gadsden, Gulf, Hernando, Hillsborough,
Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas,
Santa Rosa, Sarasota, Taylor, Wakulla, Walton and Washington in the State of Florida, including all
adjacent Gulf waters, bays, estuaries, straits, and other tidal or brackish waters within the States of
Louisiana, Mississippi, Alabama or those described counties of Texas or Florida.

                 (y)     “Halliburton” means Halliburton Energy Services, Inc. and all and any of its
Affiliates, other than any Natural Person or Entity that is also an Affiliate of any of the Released
Parties as of April 16, 2012.

                 (z)     “Halliburton Parties” shall mean Halliburton (including all persons, entities,
subsidiaries, divisions and business units comprised thereby); each of Halliburton’s respective past,



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present and future directors, officers, employees, general or limited partners, members, joint venturers,
and shareholders, and the past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers, predecessors,
successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or entity acting on
behalf of or having liability in respect of Halliburton, in their respective capacities as such; and the
federal Oil Spill Liability Trust Fund and any state or local fund, and each of their respective Affiliates
including their officers, directors, shareholders, employees, and agents.

                 (aa)     “Incompetent Claimant” means a Natural Person who lacks the capacity to
enter into a contract on his or her behalf at the time this Individual Release is executed, in accordance
with the state laws of that person’s domicile as applied to adult capacity issues, whether through power of
attorney agency documents, guardianship, conservatorship, tutorship, or otherwise.

               (bb)     “Individual Release” means this Full and Final Release, Settlement, and
Covenant Not to Sue.

                 (cc)   “MC252 Well” means the exploratory well named “Macondo” that was eing
drilled by the Transocean Marianas and Deepwater Horizon rigs in Mississippi Canyon, Block 252 on the
outer continental shelf in the Gulf of Mexico, approximately 130 miles southeast of New Orleans,
Louisiana.

               (dd)     “MDL Action” means the federal multidistrict litigation pending before the
United States District Court for the Eastern District of Louisiana, titled, In re: Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179).

                 (ee)     “Minor Claimant” means a Natural Person whose age is below that of the
majority rule for the State in which the minor resides at the time this Individual Release is executed.

                 (ff)     “Moratoria Loss” means any loss whatsoever caused by or resulting from
federal regulatory action or inaction directed at offshore oil industry activity — including shallow water
and deepwater activity — that occurred after May 28, 2010, including the federal moratoria on offshore
permitting and drilling activities imposed on May 28, 2010 and July 12, 2010 and new or revised safety
rules, regulations, inspections, or permitting practices.

                (gg)   “Natural Person” means a human being, and includes the estate of a human
being who died on or after April 20, 2010. For purposes of this Individual Release, a Natural Person
that is the estate of a human being who died on or after April 20, 2010, a Minor Claimant or
Incompetent Claimant, shall be deemed to act through his, her or its Representative.

                (hh)    “OPA” means the Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.

                (ii)    “Other Party” means every person, entity, or party other than the Released
Parties.

                (jj)    “Other Released Parties” means Released Parties other than BP.

               (kk)     “Real Property” means land, including improvements thereon, and property of
any nature appurtenant or affixed thereto.

                 (ll)    “Real Property Sales Compensation Zone” shall be defined as Residential
Parcels identified in the Real Property Compensation Zone Map.



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                (mm) “Real Property Compensation Zone Map” means the map(s) attached as
Exhibit 13B to the Settlement Agreement.

                 (nn)   “Real Property Sales Damage” means damages for realized damage on the sale
of Residential Parcels arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident.

                  (oo)     “Released Claims” means all claims arising out of, due to, resulting from, or
relating in any way to, directly or indirectly, the Deepwater Horizon Incident, including any and all
actions, claims, costs, expenses, taxes, rents, fees, profit shares, liens, remedies, debts, demands,
liabilities, obligations, or promises of any kind or nature whatsoever, in both law or in equity, past or
present, whether known or unknown, including claims for any and all Unknown Claims or damages,
future injuries, damages or losses not currently known, but which may later develop, provided they arise
out of, are due to, result from, or relate in any way to, directly or indirectly, the Deepwater Horizon
Incident, and regardless of the legal or equitable theory, arising under any source of law whether
international, federal, state, or local, and regardless of whether pursuant to statutory law, codal law,
adjudication, quasi-adjudication, regulation, or ordinance, including common law, maritime or admiralty,
statutory and non-statutory attorneys’ fees, reach of contract, reach of any covenant of good faith
and/or fair dealing, fraud, misrepresentation, fraudulent concealment, deception, consumer fraud,
antitrust, defamation, tortious interference with contract or business expectations, loss of business
expectations or opportunities, loss of employment or earning capacity, diminution of property value,
violation of the federal Racketeer Influenced and Corrupt Organizations Act or any similar state law,
violations of any consumer protection act, punitive damages, exemplary damages, multiple damages, non-
compensatory damages, Compensatory Damages, pain and suffering, interest, injunctive relief,
declaratory judgment, costs, deceptive practices, unfair business practices, regulation, strict liability,
negligence, gross negligence, willful misconduct, nuisance, trespass, fraudulent concealment, statutory
violations, including OPA or other statutory claims, unfair business practices, breach of fiduciary duty,
and all other theories whether existing now or arising in the future, arising out of, due to, resulting from,
or relating in any way to, directly or indirectly, the Deepwater Horizon Incident. Released Claims
shall not include Expressly Reserved Claims.

                 (pp)     “Released Parties,” for purposes of the Released Claims, means (i) BP
(including all persons, entities, subsidiaries, divisions and business units comprised thereby), together
with (ii) DHOST; (iii) the persons, entities, divisions, and business units listed on Attachment A; (iv)
each of BP’s and the Other Released Parties’ respective past, present and future directors, officers,
employees, general or limited partners, members, joint venturers, and shareholders, and their past, present
and future spouses, heirs, beneficiaries, estates, executors, administrators, personal representatives,
attorneys, agents, trustees, insurers, reinsurers, predecessors, successors, indemnitees, assigns; (v) any
natural, legal or juridical person or Entity acting on behalf of or having liability in respect of BP or the
Other Released Parties, in their respective capacities as such; and (vi) the federal Oil Spill Liability
Trust Fund and any state or local fund, and, as to i-vi above, each of their respective Affiliates including
their Affiliates’ officers, directors, shareholders, employees, and agents. Released Parties will also
include any vessels owned or chartered by any Released Party (except for the Deepwater Horizon itself).
Notwithstanding anything herein to the contrary, in no event shall any of the following be deemed to be a
Released Party: Transocean or Halliburton. Claimant specifically reserves its rights for punitive and
exemplary damages against Transocean and Halliburton subject to the provisions of Paragraph 11 of the
Settlement Agreement. Furthermore, nothing herein shall impair the rights of the Claimant to recover
additional benefits from the Economic Class secured by virtue of the efforts of the Economic Class to
pursue Assigned Claims, again subject to the provisions of Paragraph 11 of the Settlement Agreement.




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                  (qq)     “Residential Parcels” means those parcels within the Real Property Sales
Compensation Zone for which the county where the parcel is located has designated the parcel as a
residential classification.

                (rr)     “Response Activities” means the clean up, remediation efforts, and all other
responsive actions (including the use and handling of dispersants) relating to the releases of oil, other
hydrocarbons and other pollutants from the MC252 Well and/or the Deepwater Horizon and its
appurtenances and the Deepwater Horizon Incident.

                (ss)    “Seafood” means fish and shellfish, including shrimp, oysters, cra , and Finfish,
caught in the Specified Gulf Waters. Seafood shall exclude menhaden.

                (tt)   “Seafood Compensation Program” means the program defined in Section 5.2
of the Settlement Agreement.

               (uu)   “Settlement Agreement” means the Economic and Property Damages
Settlement Agreement.

               (vv)    “Settlement Program” means the Deepwater Horizon Court Supervised
Settlement Program created pursuant to the Settlement Agreement.

                (ww) “Specified Gulf Waters” means the U.S. waters of the Gulf of Mexico and all
adjacent bays, estuaries, straits, and other tidal or brackish waters within the Gulf Coast Areas, as
specifically shown and described in Exhibit 23 to the Settlement Agreement.

                (xx)     “Subsistence” means fishing or hunting to harvest, catch, barter, consume or
trade Gulf of Mexico natural resources (including Seafood and Game), in a traditional or customary
manner, to sustain basic personal or family dietary, economic security, shelter, tool, or clothing needs.

                (yy)     “Subsistence Damage” means a loss of value of Subsistence use of natural
resources alleged to arise out of, result from or relate in any way to, directly or indirectly, the Deepwater
Horizon Incident.

                 (zz)    “Transocean” means Transocean Ltd., Transocean, Inc., Transocean Offshore
Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC, and Triton Asset
Leasing GmbH and all and any of their Affiliates, other than any Natural Person or Entity that is also an
Affiliate of any of the Released Parties.

                 (aaa) “Transocean Parties” means Transocean (including all persons, entities,
subsidiaries, divisions and business units comprised thereby); each of Transocean’s respective past,
present and future directors, officers, employees, general or limited partners, members, joint venturers,
and shareholders, and the past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers, predecessors,
successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or entity acting on
behalf of or having liability in respect of Transocean, in their respective capacities as such; and the
federal Oil Spill Liability Trust Fund and any state or local fund, and each of their respective Affiliates
including their officers, directors, shareholders, employees, and agents.

                (bbb) “Unknown Claims” and damages or not currently known claims and damages
(whether or not capitalized) means all past, present, and future claims and damages arising out of facts,
including new facts or facts found hereafter to be other than or different from the facts now believed



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to be true, arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
Deepwater Horizon Incident covered by this Individual Release that Claimant does not, in whole
or in part, know or suspect to exist and which, if known by them, might have affected their decision to
provide such Individual Release, including all claims arising out of new facts or facts found hereafter to
be other than or different from the facts now believed to be true.

                (ccc) “Vessel Physical Damage” means physical damage that was sustained by an
eligible Claimant’s eligi le vessel due to or resulting from the Deepwater Horizon Incident or the
Deepwater Horizon Incident response cleanup operations, including the VoO Program, that were
consistent with the National Contingency Plan or specifically ordered by the Federal On-Scene
Coordinator or delegates thereof.

                (ddd) “VoO Charter Payment” means a loss alleged by a VoO Charter Payment
Claimant for any payment or compensation related to participation in the VoO Program that satisfies the
requirements set forth in Section 5.5 of the Settlement Agreement.

                (eee) “VoO Charter Payment Claimant” means an Economic Class Member
claiming to have suffered a VoO Charter Payment loss.

                (fff)  “VoO Master Vessel Charter Agreement” means the standard agreements
utilized by BP and its agents or subcontractors to charter the vessels available for work or service in
connection with the VoO Program.

            (ggg) “VoO Program” means the program through which vessel owners performed
wor for BP or BP’s authorized agents pursuant to the terms of the VoO Master Vessel Charter
Agreement.

               (hhh) “Wetlands Real Property Claim Framework” means the rules descri ed in the
document captioned Wetlands Real Property Claim Frameworks, attached the Settlement Agreement as
Exhibits 12A-12B.

                (iii)   “Wetlands Real Property Claimant” means an Economic Class Member
claiming to have suffered Wetlands Real Property Damage.

              (jjj)  “Wetlands Real Property Damage” means a loss alleged by a Wetlands Real
Property Claimant that satisfies the requirements set forth in the Wetlands Real Property Claim
Framework.

        2.       Release. In consideration of payment in the amount of [insert $$], previous payments
for Claims referenced and released herein, and the right to receive additional Settlement Payment(s) for
any additional Claims, if any, pursuant to the terms of Section 4.4.8 of the Settlement Agreement, which
Claimant accepts as sufficient and adequate consideration for any and all Released Claims, Claimant,
on behalf of Claimant and Claimant’s heirs, beneficiaries, estates, executors, administrators, personal
representatives, agents, trustees, insurers, reinsurers, subsidiaries, corporate parents, predecessors,
successors, indemnitors, subrogees, assigns, and any natural, legal or juridical person or entity entitled to
assert any claim on behalf of or in respect of any Claimant, hereby releases and forever discharges with
prejudice, and covenants not to sue, the Released Parties for any and all Released Claims; provided
however that this Individual Release does not apply to, and the term Released Claims does not include,
Expressly Reserved Claims. In the event a Released Party is sold or otherwise transferred to or
purchases or otherwise acquires, or enters into a partnership or joint venture with, a Natural Person or
Entity that is not otherwise a Released Party immediately prior to giving effect to such transaction, then



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the non-Released Party shall as a result of such transaction obtain a benefit under this Individual
Release only with respect to any liability of the Released Party that it, or any such partnership or joint
venture, has acquired or assumed or otherwise become liable for, and not in its own right.

         3.     Release Is Comprehensive. Claimant agrees and acknowledges that the consideration
granted in Paragraph 2 above constitutes full, complete, and total satisfaction of all of the Released
Claims against the Released Parties. In addition, Claimant agrees and acknowledges that the
consideration granted in Paragraph 2 above also constitutes full, complete, and total satisfaction of all of
Claimant’s Compensatory Damage Claims against the Transocean Parties and the Halliburton
Parties.

         4.      Non-General Release. Claimant expressly waives and releases with prejudice, and
shall be deemed to have waived and released with prejudice, any and all rights that it may have under any
law, codal law, statute, regulation, adjudication, quasi-adjudication, decision, administrative decision, or
common law principle that would otherwise limit the effect of the Individual Release to those claims or
matters actually known or suspected to exist at the time of execution of the Individual Release.
California law is not applicable to this Individual Release, but purely for illustrative purposes the
Released Claims include, but are not limited to the release of claims provided for in Section 1542 of the
California Civil Code, which provides as follows: “A general release does not extend to claims which the
creditor does not know or suspect to exist in his or her favor at the time of executing the release, which if
known by him or her must have materially affected his or her settlement with the de tor ”

        5.      Contribution, Subrogation, Indemnity. This Individual Release is not intended to
prevent BP from exercising its rights of contribution, subrogation, or indemnity under OPA or any other
law, including its rights of assignment regarding Assigned Claims as set forth in Exhibit 21 to the
Settlement Agreement. BP is hereby subrogated to any and all rights that the Economic Class
Members, or any of them, may have had or have arising out of, due to, resulting from, or relating in any
way to, directly or indirectly, the Deepwater Horizon Incident under OPA. All such rights of BP to
contribution, indemnity, and subrogation, and BP’s su rogation to the rights of Economic Class
Members, are subject to the provisions regarding Assigned Claims in Exhibit 21 to the Settlement
Agreement.

        6.      Consideration. Claimant agrees that this Individual Release is entered into in
consideration of the agreements, promises, and mutual covenants set forth in this Individual Release and
for such other good and valuable consideration the receipt and sufficiency of which are hereby
acknowledged.

       7.       No Further Action. Claimant agrees not to file federal or state judicial or
administrative proceedings concerning cleanup, removal, spill response or remediation of Coastal Real
Property Damages and Wetlands Real Property Damages, or the underlying Real Property, as a
means to seek the redress of Released Claims.

        8.      Dismissal of All Claims.

                (a)     In consideration of the benefits provided under this Individual Release, all
        Released Claims by or on behalf of Claimant against any and all Released Parties shall be
        dismissed with prejudice in any lawsuit in which the Claimant is a party.

               (b)    This Individual Release shall be the exclusive remedy for any and all Released
        Claims by or on behalf of Claimant against any and all Released Parties, and Claimant shall




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       not recover, directly or indirectly, any sums from any Released Parties for any Released Claims
       other than those received for the Released Claims under the terms of this Individual Release.

                 (c)     Claimant agrees that Claimant, and all other Natural Persons and Entities
       claiming by, through, or on behalf of Claimant will be forever barred and enjoined from
       commencing, filing, initiating, instituting, prosecuting, maintaining, or consenting to any judicial,
       arbitral, or regulatory action against the Released Parties with respect to the Released Claims.

                (d)     If Claimant commences, files, initiates, or institutes any new action or other
       proceeding for any Released Claims against the Released Parties in any federal or state court,
       arbitration tribunal, or administrative or other forum, such action or other proceeding shall be
       dismissed with prejudice and at Claimant’s cost; provided, however, before any costs may be
       assessed, counsel for such Claimant, or, if not represented, such Claimant shall be given
       reasonable notice and an opportunity voluntarily to dismiss such new action or proceeding with
       prejudice. Furthermore, if Claimant brings any legal action before any Court, arbitration panel,
       regulatory agency, or other tribunal to enforce its rights under this Individual Release, such
       Released Party shall be entitled to recover any and all related costs and expenses (including
       attorneys’ fees) from any Claimant in violation or breach of its obligations under this Individual
       Release.

        9.     No Admission of Liability or Wrongdoing by BP. The Paragraph 2 payment to
Claimant is made without any admission of liability or wrongdoing by BP or any other Released Party
and is made purely by way of compromise and settlement.

        10.    Claimant Warranty. Claimant represents and warrants that Claimant or Claimant’s
undersigned representative in the case of a business entity has authority to execute this Individual
Release on behalf of Claimant.

       11.     Additional Protections for Released Parties.                Claimant promises, agrees,
acknowledges, represents, warrants, and covenants as follows:

                (a)     No Assignment of Claims. Claimant shall not assign or reassign, or attempt to
       assign or reassign, to any person or entity other than BP any rights or claims arising out of, due
       to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
       Incident. Any such assignment or reassignment, or attempt to assign or reassign, to any Natural
       Person or Entity other than BP any rights or claims arising out of, due to, resulting from, or
       relating in any way to, directly or indirectly, the Deepwater Horizon Incident shall be void,
       invalid, and of no force and effect.

               (b)     No Recovery of Additional Compensatory Damages. Claimant shall not
       accept or attempt to recover, through insurance, reinsurance, indemnification, contribution,
       subrogation, litigation, settlement, or otherwise, any Compensatory Damages from the
       Transocean Parties and/or the Halliburton Parties. Nothing in this Paragraph 11(b) shall
       impair or impact Claimant’s rights to pursue Transocean and Halliburton for exemplary and
       punitive damages individually or through the Economic Class.

               (c)     Non-Execution and Non-Collection for Compensatory Damages. In the event
       that Claimant is or becomes the beneficiary of any judgment, decision, award, or settlement
       arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
       Deepwater Horizon Incident, Claimant shall not accept, execute on, attempt to collect, or
       otherwise seek recovery of any Compensatory Damages from the Transocean Parties and/or


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    the Halliburton Parties. Nothing in this Paragraph 11(c) shall impair or impact Claimant’s
    rights to pursue Transocean and Halliburton for exemplary and punitive damages individually
    or through the Economic Class.

             (d)     Conditional Collection of Damages. In the event that Claimant is or becomes
    the beneficiary of any judgment, decision, award, or settlement arising out of, due to, resulting
    from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident,
    including from Assigned Claims and/or Expressly Reserved Claims, Claimant shall not accept,
    execute on, attempt to collect, or otherwise seek recovery of any Damages, to the extent that any
    Other Party is see ing or may see to recover such Damages from any Released Party, whether
    through indemnity, contribution, subrogation, assignment, or any other theory of recovery, by
    contract, pursuant to applicable law or regulation, or otherwise, directly or indirectly. Claimant
    may, however, accept, execute on, attempt to collect, or otherwise seek recovery of Damages if
    and when a court or tribunal of competent jurisdiction has finally determined that Other Parties
    cannot recover such Damages, whether through indemnity, contribution, subrogation, assignment
    or any other theory of recovery, by contract, pursuant to applicable law or regulation, or
    otherwise, directly or indirectly, from any Released Party For purposes of this Paragraph 11(d),
    “finally determined” shall mean the conclusion of any applica le appeals or other rights to see
    review by certiorari or otherwise, or the lapse of any and all such rights, or the lapse of any and
    all applicable limitations or repose periods.

             (e)     Conditions on Future Settlements. Claimant may settle or compromise any
    rights, demands, or claims with the Transocean Parties, the Halliburton Parties, and/or any
    Other Parties arising out of, due to, resulting from, or relating in any way to, directly or
    indirectly, the Deepwater Horizon Incident if but only if the Transocean Parties, the
    Halliburton Parties, and/or such Other Party, as the case may be, agrees as part of that
    settlement or compromise to a full and final release of, dismissal of, and covenant not to sue for
    any and all rights to recover, directly or indirectly, from the Released Parties (whether through
    indemnity, contribution, subrogation, assignment or any other theory of recovery, by contract,
    pursuant to applicable law or regulation, or otherwise) for any Damages or other relief or
    consideration provided under or relating to such settlement or compromise (whether the
    settlement is of a class, of individual claims, or otherwise), including from Expressly Reserved
    Claims, and further represents and warrants that it has not assigned and will not assign any rights
    to recover for such Damages or other relief or consideration (whether through indemnity,
    contribution, subrogation, or otherwise). As part of this commitment and without limitation,
    Claimant shall not to settle or compromise with the Transocean Parties, the Halliburton
    Parties, and/or any Other Parties on terms that might allow any insurers, reinsurers, or
    indemnitors thereof to claim against any Released Parties for indemnification, subrogation,
    contribution, assignment or under any other theory of recovery. Claimant agrees that, before any
    such settlement or compromise is executed, BP shall have the right to approve language in any
    such settlement or compromise memorializing the representation and warranty set forth in this
    Paragraph 11(e), which approval shall not be unreasonably withheld.

             (f)    Indemnity to Released Parties. Notwithstanding any provision in this
    Individual Release to the contrary, if any Other Party recovers or seeks to recover from any
    Released Party (under any theory of recovery, including indemnity, contribution, or subrogation,
    and including from Assigned Claims and/or Expressly Reserved Claims) any Damages either
    (a) paid to Claimant, or (b) by, through, under, or on account of Claimant; then Claimant shall
    indemnify (not defend) the Released Parties, but only to the extent of the consideration received
    in Paragraph 2 above (by way of example, if Claimant has received $100.00 pursuant to
    Paragraph 2 above, its indemnity obligation would be capped at this amount). This indemnity


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        obligation owed by Claimant includes any and all claims made or other actions taken by that
        Claimant taken in breach of this Individual Release.

                 (g)       Notice Regarding Indemnity. Claimant expressly acknowledges that, to the
        fullest extent allowed by law, the indemnity obligations contained in Paragraph 11(f) above apply
        to claims against Released Parties predicated on negligence, gross negligence, willful
        misconduct, strict liability, intentional torts, liability based on contractual indemnity, and any and
        all other theories of liability, and any and all awards of attorneys’ fees or other costs or expenses.
        Claimant acknowledges that this indemnity is for conduct occurring before the date of this
        Individual Release and therefore is not affected by public policies or other law prohibiting
        agreements to indemnify in advance of certain conduct. CLAIMANT ACKNOWLEDGES
        THAT THIS PARAGRAPH 11(g) COMPLIES WITH ANY REQUIREMENT TO
        EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND
        THAT THIS PARAGRAPH 11(g) IS CONSPICUOUS AND AFFORDS FAIR AND
        ADEQUATE NOTICE.

        12.      Claimant Signature Requirements. Claimant must personally sign the Individual
Release, rather than through an attorney or otherwise. An electronic signature is insufficient. In addition
to signing and accepting the overall Individual Release immediately below, Claimant agrees to
separately sign and vouch for the accuracy of the certifications contained in Attachment “B ”

        13.      Spouse’s Signature. If the Claimant has a living spouse, the Claimant’s spouse must
also personally sign below. An electronic signature is insufficient. The Claimant and his or her spouse
should not sign the Individual Release unless they both intend to release all Released Claims.

         14.     Choice of Law. Notwithstanding the law applicable to the underlying claims, which is a
disputed issue not resolved by this Individual Release, this Individual Release and all questions with
respect to the construction and enforcement thereof and the rights and liabilities hereto shall be
interpreted in accord with General Maritime Law, as well as in a manner intended to comply with OPA.

         15.    Superseding Nature of Agreement. This Individual Release constitutes the final,
complete, and exclusive agreement and understanding between BP and Claimant and supersedes any and
all other agreements, written or oral, between BP and Claimant with respect to such subject matter of this
Individual Release in settlement of Claims arising out of or related to the Deepwater Horizon Incident.

        16.      Continuing Effectiveness of Agreement. This Individual Release shall remain
effective regardless of any appeals or court decisions relating in any way to the liability of the Released
Parties in any current or future litigation. This Individual Release shall also remain effective
regardless of whether the Settlement Agreement resolving the Claims of the Economic Class is
approved.

         17.     Choice of Federal Forum and Waiver of State Forums. Any and all disputes, cases, or
controversies concerning this Individual Release, including without limitation disputes concerning the
interpretation or enforceability of this Individual Release, shall be filed only in the United States District
Court for the Eastern District of Louisiana, accompanied by a legal request made on behalf of any
complainant party (whether one of the Released Parties or the Claimant) for such dispute to be made
part of the MDL Action if the MDL Action has not yet been terminated. No actions to enforce this
Individual Release shall be filed in any state court, arbitration tribunal, or administrative agency and
Claimant represents and warrants that it shall not file such an action in any state court, arbitration
tribunal, or administrative agency. Claimant agrees not to contest the existence of federal jurisdiction in
the MDL Action or the United States District Court for the Eastern District of Louisiana .


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        18.     Reservation of Rights. Notwithstanding the above and foregoing Individual Release,
Claimant hereby reserves: (i) the right to additional settlement payments for any additional Claims, if
any, pursuant to the terms of Section 4.4.8 of the Settlement Agreement; (ii) any and all rights or claims
to which Claimant may be entitled for additional distributions from and funds held in reserve or trust
(including, but not limited to, the Seafood Compensation Program, Assigned Claims and/or
Transocean Personnel Insurance Proceeds) according to the terms of the Settlement Agreement; and (iii)
Expressly Reserved Claims.

         19.    Claimant’s Responsibility for Attorneys’ Fees. To the extent that Claimant has
retained or engaged a private attorney to represent him or her or it in connection with the Deepwater
Horizon Incident, Claimant acknowledges and agrees that he or she or it, and not the BP Parties, is
solely responsible for any attorneys’ fees or costs owed to such attorney by the Claimant.




Claimant’s Name                                 Claimant’s Signature &                        Date
                                                Title, if Business Entity Claimant


Claimant’s Spouse’s Name                        Claimant’s Spouse’s Signature,                Date
                                                if applicable




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Attachment “A” Listing Released Parties
Abdon Callais Offshore, Inc.
Admiral Robert J Papp Jr.
Admiral Thad Allen
Admiral Towing, LLC
Aerotek, Inc.
Airborne Support, Inc.
Airborne Support International, Inc.
Alford Safety Services Inc.
Alford Services Inc.
Ameri-Force, Inc.
Ameri-Force Craft Services, Inc.
American Pollution Control Corporation
Anadarko Petroleum Company
Anadarko Petroleum Corporation
Anadarko E&P Company LP
Apex Environmental Services, LLC
Art Catering, Inc.
Ashland Services, LLC
B&B Environmental Services, Inc.
Belle Chasse Marine Transportation, Inc.
BJ Services Company, USA
Blue Marlin Services of Acadiana, LLC
Bobby Lynn's Marina, Inc.
BP America Inc.
BP America Production Company
BP Company North America Inc.
BP Corporation North America Inc.
BP Energy Company
BP Exploration (Alaska) Inc.
BP Global Special Products (Americas) Inc.
BP Holdings North America Limited
BP Exploration & Production Inc.
BP p.l.c.
BP Products North America Inc.
BP International Ltd.
BP Corporation North America Inc. Savings Plan Investment Oversight Committee
Brett Cocales
Brian Morel
Cabildo Services, LLC
Cabildo Staffing, LLC
Cahaba Disaster Recovery LLC
Cal Dive International, Inc.
Cameron Corporation
Cameron International Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C.
Chill Boats L.L.C.
Chouest Shorebase Services, LLC
Clean Harbors, Inc.
Clean Tank LLC
Clean Tank Inc.
Core Industries, Inc.
Core 4 Kebawk, LLC


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Crossmar, Inc.
Crowder/Gulf Joint Venture
Crowder Gulf Disaster Recovery
Danos and Curole Marine Contractors, LLC
Danos & Curole Staffing, L.L.C.
David Sims
Deepwater Horizon Oil Spill Trust
Diamond Offshore Company
DOF Subsea USA, Inc.
Don J. Vidrine
DRC Emergency Services, LLC
DRC Marine, LLC
DRC Recovery Services, LLC
Dril-Quip, Inc.
Dynamic Aviation Group, Inc.
Eastern Research Group, Inc.
Environmental Standards, Inc.
Environmental Safety & Health Consulting Services
Environmental Safety & Health Environmental Services
ES&H, Inc.
ESIS, Inc.
Exponent, Inc.
Faucheaux Brothers Airboat Services, Inc.
Global Diving & Salvage, Inc.
Global Employment Services, Inc.
Global Fabrication, LLC
Global Marine International, Inc.
Graham Gulf Inc.
Grand Isle Shipyard Inc.
Gregg Walz
Guilbeau Marine, Inc.
Guilbeau Boat Rentals, LLC
Gulfmark Offshore, Inc.
Gulf Offshore Logistics, LLC
Gulf Offshore Logistics International, LLC
Gulf Services Industrial, LLC
HEPACO, Inc.
Hilcorp Energy Company
Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company
I-Transit Response, L.L.C
International Air Response, Inc.
Island Ventures II, LLC
JMN Specialties, Inc.
JNB Operating LLC
John Guide
K & K Marine, LLC
LaBorde Marine Services, LLC
Lane Aviation
Lawson Environmental Service LLC
Lawson Environmental Service & Response Company
Lee Lambert
Lord Edmund John Browne
Lynden Air Cargo, LLC
Lynden, Inc.
Maco of Louisiana, LLC


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Maco Services, Inc.
Marine Spill Response Corporation
Mark Bly
Mark Hafle
M-I L.L.C.
M-I Drilling Fluids L.L.C.
M-I Swaco
Miller Environmental Group, Inc.
Mitchell Marine
Mitsui & Co. (USA), Inc.
Mitsui & Co. Ltd.
Mitsui Oil Exploration Co. Ltd.
ModuSpec USA, Inc.
Monica Ann LLC
Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC
MOEX USA Corporation
M/V Monica Ann
M/V Pat Tilman
M/V Damon B. Bankston
M/V Max Chouest
M/V Ocean Interventions
M/V C. Express
M/V Capt. David
M/V Joe Griffin
M/V Mr. Sidney
M/V Hilda Lab
M/V Premier Explorer
M/V Sailfish
M/V Seacor Washington
M/V Emerald Coast
M/V Admiral Lee
M/V Seacor Vanguard
M/V Whuppa Snappa
Nalco Energy Services, LP
Nalco Holding Company
Nalco Finance Holdings LLC
Nalco Finance Holdings Inc.
Nalco Holdings LLC
Nalco Company
National Response Corporation
Nature's Way Marine, LLC
Nautical Ventures, LLC
Nautical Solutions, LLC
O’Brien’s Response Management, Inc
Ocean Runner, Inc.
Ocean Therapy Solutions, LLC
Oceaneering International, Inc.
Odyssea Marine, Inc.
Offshore Cleaning Systems L.L.C.
Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Oil Recovery Company, Inc. of Alabama
Oilfield Marine Contractors, LLC
Parsons Commercial Services Inc.
Parsons Services Company


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Parsons Facility Services Company
Parsons Corporation
Patriot Environmental Services Incorporated
Peneton Company
Perennial Contractors, LLC
Peneton Corporation
Production Services Network U.S., Inc.
Quality Container, Inc.
Quality Energy Services, Inc.
Ranger Offshore, Inc.
Reel Pipe, LLC
Resolve Marine Services, Inc.
Robert Kaluza
Ronald W. Sepulvado
Schlumberger, Ltd.
Seacor Holdings Inc.
Seacor Marine, LLC
Seacor Marine, Inc.
Seacor Marine International, Inc.
Seacor Offshore LLC
Seacor Worldwide, Inc.
Sealion Shipping LTD
Sea Support Services, L.L.C.
Sea Tow of South Miss, Inc.
Seafairer Boat, LLC
Shamrock Management LLC et al.
Shoreline Services, LLC
Siemens Financial, Inc.
Shoreline Construction, LLC
Smith Marine, Inc.
Southern Cat, Inc.
Southern Environmental of Louisiana, LLC
Stallion Offshore Quarters, Inc.
Subsea 7 LLC
Tamara's Group, LLC
Team Labor Force, LLC
Technical Marine Maintenance Services, L.L.C.
The Modern Group, Ltd.
The Modern Group GP-SUB, Inc.
The O’Brien Group, LLC
The Response Group, Inc.
Tiburon Divers, Inc.
Tidewater, Inc.
Tidewater Marine LLC
Tiger Rentals, Ltd.
Tiger Safety, LLC
Toisa Limited
Total Safety U.S., Inc.
Twenty Grand Offshore, LLC
Twenty Grand Marine Service, LLC
Twenty Grand Offshore Inc.
USES/Construct Corps
United States Environmental Services, LLC
United States Maritime Services, Inc.
Viscardi Industrial Services, LLC
Weatherford International Ltd.


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Weatherford U.S. L.P.
Wood Group Production Services, Inc.
Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC




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Attachment “B” — Certification

Claimant hereby signs to attest to and vouch for the accuracy of the certification below:



For all types of claims:

I certify that I understand and acknowledge that, (subject to my right to additional Settlement
Payments, if any, pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up
with prejudice and discharging, without any right of legal recourse whatsoever, any and all rights
I have or may have to the Released Claims against the Released Parties. I acknowledge that by
having executed the Individual Release and signing below neither I nor the entity I represent
has been pressured or influenced by, or is relying on any statement or representation made by
any person acting on behalf of BP or any other Released Party. I certify that I understand that I
have the right to consult with an attorney of my choosing before signing this Individual Release.



PLUS ONE OF                THE   ADDITIONAL         CERTIFICATIONS         FOLLOWING         (AS
APPLICABLE):

For business or property claims:

I certify that either:

(1) I have not made an insurance claim or received any insurance proceeds for any business or
property Claim arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident; OR

 (2) If I have made or do make an insurance claim and/or receive or have received insurance
proceeds for any business or property claim arising out of, due to, resulting from, or relating in
any way to, directly or indirectly the Deepwater Horizon Incident, I will indemnify BP for any
liability it incurs for a subrogation claim made against BP arising out of:

        (a) such insurance proceeds, provided that the subrogation claim is brought by an entity
        seeking payment of insurance proceeds to me for any business or property claim arising
        out of, due to, resulting from, or relating in any way to, directly or indirectly, the
        Deepwater Horizon Incident; and

        (b) the amount that I indemnify BP shall not exceed the amount of insurance proceeds
        that I received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH
ANY REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH
CLAIMS IS INDEMNIFIED AND THAT THIS CERTIFICATION IS CONSPICUOUS
AND AFFORDS FAIR AND ADEQUATE NOTICE.



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For individual claims:

I certify that either:

(1) I have not made a claim for unemployment insurance benefits arising out of, due to, resulting
from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident;   OR

(2) If I have made or do make a claim for unemployment insurance benefits arising out of, due
to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, I will indemnify BP for any liability and defense costs it incurs for a subrogation
Claim made against BP arising out of such insurance proceeds provided that the subrogation
Claim is brought by an entity seeking payment of insurance proceeds to me for any business or
property Claim arising out, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident; and the amount that I indemnify BP shall not
exceed the amount of insurance proceeds that I received for the unemployment insurance
benefits Claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH
ANY REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH
CLAIMS IS INDEMNIFIED AND THAT THIS CERTIFICATION IS CONSPICUOUS
AND AFFORDS FAIR AND ADEQUATE NOTICE.




Claimant’s Name                             Claimant’s Signature, Title if            Date
                                            Business Claimant


Claimant’s Spouse’s Name                    Claimant’s Spouse’s Signature,            Date
                                            if applicable




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